           Case 16-60040 Document 3 Filed in TXSB on 05/11/16 Page 1 of 1




UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                    Victoria            Main Case Number            16-60040
          Debtor            In Re:                        Linn Energy, LLC, et al.


This lawyer, who is admitted to the State Bar of                    Texas                   :

                       Name                             James Donnell
                       Firm                             Baker & McKenzie LLP
                       Street                           452 Fifth Avenue
                 City & Zip Code                        New York, NY 10018
                    Telephone                           (212) 626 4327
                                                        Texas Bar No. 05981300
             Licensed: State & Number

Seeks to appear as the attorney for this party:

                              Wells Fargo Bank, National Association


 Dated: 05/11/2016                        Signed: /s/ James Donnell




 COURT USE ONLY: The applicant’s state bar reports their status as:                              .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order


                                     This lawyer is admitted pro hac vice.

Dated:
                                                           United States Bankruptcy Judge
